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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION
                          CRIMINAL ACTION NO. 5:84-CR-21-TBR




UNITED STATES OF AMERICA                                                          PLAINTIFF


v.


WILLIAM DALE WOOLUM                                                               DEFENDANT



                          MEMORANDUM OPINION AND ORDER


       This matter is before the Court on Defendant William Dale Woolum’s Motion to the Court.

[DN 71]. In this motion, Defendant claims 18 U.S.C. § 3582(c) applies to him and he requests that

“the Court should reinstate the proceedings initiated by the Defendant.” Id. Defendant made the

same argument in his prior Motion for Compassionate Release, [DN 54], which upon review, was

rejected by this Court:

       Here, the Government responded to Defendant’s Motion, [DN66], and successfully
       established that 18 U.S.C. § 4205(g) governs Defendant’s motion for compassionate
       release, not the First Step Act’s amendment to 18 U.S.C. § 3582(c). [DN 66]. Therefore,
       because the BOP itself has not filed a motion to reduce Defendant’s sentence as required
       under § 4205(g), the Court lacks jurisdiction to reduce Defendant’s sentence and his motion
       for compassionate release was denied. [DN 68].

After considering Defendant’s motion, [DN 71], the Court concludes that the information

contained therein does not provide a basis to reconsider or alter the prior Memorandum Opinion

and Order. Moreover, given that the Court has previously addressed and rejected Defendant’s


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argument that his motion for compassionate release is governed by 18 U.S.C. § 3582(c), it declines

to do so again here. Accordingly, Defendant’s Motion, [DN 71], is DENIED AS MOOT.

       IT IS SO ORDERED




                                                                                 November 9, 2020




cc: Attorneys of Record

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